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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   JULISSA COTA, individually and on                   Case No.: 20-CV-2003 JLS (BLM)
     behalf of all others similarly situated,
12
                                        Plaintiff,       ORDER GRANTING JOINT
13                                                       MOTION FOR DISMISSAL
     v.                                                  WITH PREJUDICE PURSUANT
14
                                                         TO FRCP RULE 41(a)(1)
     DZINE, INC., a California corporation;
15
     and DOES 1 to 10, inclusive,
                                                         (ECF No. 11)
16                                   Defendants.
17
18         Presently before the Court is the Parties’ Joint Motion for Dismissal with Prejudice
19   Pursuant to FRCP Rule 41(a)(1) (“Joint Mot.,” ECF No. 11). Good cause appearing, the
20   Court GRANTS the Joint Motion and DISMISSES this action in its entirety WITH
21   PREJUDICE, with each party to bear its own costs and fees.
22         IT IS SO ORDERED.
23   Dated: April 16, 2021
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                                                                             20-CV-2003 JLS (BLM)
